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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WAYNE BALIGA, derivatively on behalf of           Case No.: 1:18-cv-11642-VM
LINK MOTION INC. (F/K/A NQ MOBILE
INC.),
                                                 STIPULATION OF NON-OPPOSITION
                                      Plaintiff, TO A PRELIMINARY INJUNCTION AND
                                                 CONSENT ORDER TO EXTEND TIME
                      vs.                        TO ANSWER, MOVE, OR OTHERWISE
                                                 RESPOND TO THE COMPLAINT
LINK MOTION INC. (F/K/A NQ MOBILE
INC.), VINCENT WENYONG SHI, JIA
LIAN, and XIAO YU,

                                   Defendants,

                      and

LINK MOTION INC. (F/K/A NQ MOBILE
INC.),

                            Nominal Defendant.


       This matter having been brought before the Court on the joint application of Defendant

Link Motion Inc. (f/k/a NQ Mobile Inc.) (“Link Motion” or “Defendant”), by its counsel, DLA

Piper LLP (US), and Plaintiff Wayne Baliga, derivatively on behalf of Link Motion (“Plaintiff”),

by his counsel The Seiden Group, for the entry of a Stipulation of Non-Opposition to a

Preliminary Injunction and Consent Order to extend the time for Defendant to answer, move or

otherwise respond to the Complaint filed on December 13, 2018:

       WHEREAS, on December 13, 2018, Plaintiff filed a Verified Shareholder Derivative

Complaint against Link Motion, and Vincent Wenyong Shi, Jia Lian, and Xiao Yu (“Individual

Defendants”) which asserted a cause of action against Link Motion for the appointment of a

receiver, a cause of action against the Individual Defendants for breach of fiduciary duties, a
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cause of action against the Individual Defendants for unjust enrichment, and causes of action

against Link Motion and the Individual Defendants for violations of Sections 10(b) and Section

20(a) of the Exchange Act and Rule 10b-5;

        WHEREAS, on December 14, 2018, Plaintiff filed an Order to Show Cause with

Temporary Restraining Order (“TRO”), Preliminary Injunction, and Temporary Receiver;

        WHEREAS, on December 14, 2018, the Court granted a fourteen (14) day TRO

temporarily restraining and enjoining Defendants from transferring, liquidating, dissipating,

assigning, and/or granting a lien or security interest or other interest in, any assets belonging to

Link Motion, but not restraining Link Motion from processing normal day-to-day operational

costs, including but not limited to payroll, attorneys’ fees, and auditor fees, and further ordered

the parties to confer and submit a joint letter on whether Link Motion consented to an order

beyond the initial fourteen (14) day period and to set forth a briefing schedule with respect to

Defendants’ opposition and Plaintiff’s reply in further support of Plaintiff’s request for a

preliminary injunction and appointment of a temporary receiver (the “Preliminary Injunction”);

        WHEREAS, on December 21, 2018, the Parties wrote the Court informing it that Link

Motion consented to extending the TRO beyond the initial fourteen (14) day period pending this

Court’s ruling on Plaintiff’s Preliminary Injunction, but the parties could not agree on a proposed

briefing schedule;

        WHEREAS, on December 27, 2018, the Honorable Vernon S. Broderick ordered Link

Motion to file its opposition by January 21, 2018, and Plaintiff to file its reply by January 28,

2019;

        WHEREAS, on December 20, 2018, Plaintiff filed an affidavit of service stating that Link


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Motion had been served on that date through service on Diana Arios-Hernandez, and it’s time to

answer, move or otherwise respond to the Complaint was January 10, 2019;

       IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS, SUBJECT TO

APPROVAL BY THE COURT:

       1.      Defendant Link Motion does not oppose the Preliminary Injunction.

       2.      Defendant Link Motion’s time to move, answer, or otherwise respond to the

Complaint shall be extended until February 20, 2019.

       3.      By entering into this stipulation, Link Motion contends that it is making only a

limited, and not general appearance, for the sole purpose of obtaining an extension of time to

answer, move or otherwise respond to the Complaint. Link Motion has preserved and is not

waiving and have not waived any objections, defenses or responses to the Complaint.



DATED: January 21, 2019                      Respectfully Submitted,


THE SEIDEN GROUP                                DLA PIPER LLP (US)


By: s/ Michael D. Cilento                       By: s/ Marc A. Silverman
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                                                Counsel for Defendant Link Motion Inc.
SO ORDERED:

Dated: January ____, 2019                    ____________________________________
                                             UNITED STATES DISTRICT JUDGE
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